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IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN
DISTRICT OF PENNSYLVANIA

John C. Berkery, Sr.
Plaintiff

Vv. Civ. No. 2:21- ev-
Credit Collection Services. :

(CCS),
Defendant

 

CIVIL COMPLAINT

Plaintiff John C. Berkery, Sr., hereby files the following civil
complaint against the above defendant and in support of same
avers as follows:
JURISDICTION
1, This Court has subject-matter jurisdiction over this action pursuant to 28
U.S.C. §§ 1331 and 1332(a)(1) because this suit involves a federal question,
namely the Fair Debt Collection Practices Act”), 15 U.S.C. § 1692, et seq.,
Additionally, there exists diversity of citizenship. 28 U.S.C. §1332. The Court also
would have supplemental jurisdiction over plaintiff's state law claims, if any,
pursuant to 28 U.S.C. § 1367.
VENUE

2. Venue is appropriate in this Court pursuant to 28 U.S.C.
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§1391(b)(1) and (2) because, inter alia, the defendants have
offices, conduct business, or may be found in this judicial district,
and a substantial part of the events giving rise to the claim occurred
in the Eastern District of Pennsylvania, to wit, Fort Washington,
Montgomery County.
PARTIES
3. Plaintiff, John C. Berkery, Sr. is an individual who maintains
a principal place of residence within the Counties and Judicial
District of this Court.
4. Defendant Credit Collection Services ( CCS ) is a Delaware
corporation corporation headquartered at 725 Canton Street,
Norwood, MA 02062.
RELEVANT HISTORY
5. After being twice warned that defendant was not to contact plaintiff again by
any means and would be in violation of the FDCPA if it did so ( Exhibits C, D, E ),
defendant ignored plaintiffs instruction and boldly persisted in continuing to make
contact. ( Exhibt A, B, C, F, G ), in flagrant violation of the Act.
FDCPA VIOLATION
The Fair Debt Collection Practices Act provides, in pertinent

part, as follows:
 

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15 USC §1692(c)
§ 805. Communication in connection with debt collection

(a) Communication with the consumer generally

Without the prior consent of the consumer given directly to the debt collector or the express permission of
a court of competent jurisdiction, a debt collector may not communicate with a consumer in connection
with the collection of any debt --

(1) at any unusual time or place or a time or place known or which should be known to be inconvenient to
the consumer, In the absence of knowledge of circumstances to the contrary, a debt collector shall assume
that the convenient time for communicating with a consumer is after 8 o'clock antemeridian and before 9
o'clock postmeridian, local time at the consumer's location;

(2) if the debt collector knows the consumer is represented by an attorney with respect to such debt and
has knowledge of, or can readily ascertain, such attorney's name and address, unless the attorney fails to
respond within a reasonable period of time to a communication from the debt collector or unless the
attorney consents to direct communication with the consumer; or

(3) at the consumer's place of employment if the debt collector knows or has reason to know that the
consumer's employer prohibits the consumer from receiving such communication.

(b) Communication with third parties

Except as provided in section 1692b of this title, without the prior consent of the consumer given directly
to the debt collector, or the express permission of a court of competent jurisdiction, or as reasonably
necessary to effectuate a postjudgment judicial remedy, a debt collector may not communicate, in
connection with the collection of any debt, with any person other than the consumer, his attorney, a
consumer reporting agency if otherwise permitted by law, the creditor, the attorney of the creditor, or the
attorney of the debt collector.

(c) Ceasing communication

If a consumer notifies a debt collector in writing that the consumer refuses to pay a debt or that the
consumer wishes the debt collector to cease further communication with the consumer, the debt
collector shall not communicate further with the consumer with respect to such debt, except --

(1) to advise the consumer that the debt collector's further efforts are being terminated;

(2) to notify the consumer that the debt collector or creditor may invoke specified remedies which are
ordinarily invoked by such debt collector or creditor; or

(3) where applicable, to notify the consumer that the debt collector or creditor intends to invoke a
specified remedy.

If such notice from the consumer is made by mail, notification shall be complete upon receipt.

15 USC 1692(k)

§ 813. Civil liability

(a) Amount of damages

Except as otherwise provided by this section, any debt collector who fails to comply with any provision
of this subchapter with respect to any person is liable to such person in an amount equal to the sum of --

(1) any actual damage sustained by such person as a result of such failure;
 

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(2) (A) im the case of any action by an individual, such additional damages as the court may allow,
but not exceeding $1,000; or

(B) in the case of a class action, (i) such amount for each named plaintiff as could be recovered under
subparagraph (A), and (ii) such amount as the court may allow for all other class members, without regard
to a minimum individual recovery, not to exceed the lesser of $500,000 or 1 per centum of the net worth
of the debt collector; and

(3) in the case of any successful action to enforce the foregoing liability, the costs of the action, together
with a reasonable attorney's fee as determined by the court. On a finding by the court that an action under

this section was brought in bad faith and for the purpose of harassment, the court may award to the
defendant attorney's fees reasonable in relation to the work expended and costs.

RELIEF SOUGHT

Plaintiff seeks damages in the statutory amount of $1,000 for each of the
three violations, punitive damages due to the malicious continuation of the
violations after notice to cease, plus such other and further relief as the court
deems, fair, just and equitable.
CONCLUSION

For the reasons stated above, Plaintiff requests the relief

sought.

(2,

jag Berkery/ Sr, Plait Pro Se

DATED: 08/18/21:
 

 

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this Wednesday, the 18" day of August, 2021,

I caused to be served by hand delivery through the United States Marshal’s

Service, a true and correct copy of this document upon the following:

Credit Collection Services ( CCS )
725 Canton Street,
Norwood, MA 02062.

 
 

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U.S. Department of Justice

United States Marshals Service

PROCESMRECEIPT AND RET

See "Instructions for Service of Process by U.S. Marshal

 

 

 

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individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

 

[-] [hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

 

 

 

 

 

 

 

 

 

 

 

 

 

Name and title of individual served (ifnot shown above) Date Time [] am
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Address (complete only different than shown above) Signature of U.S. Marshal or Deputy
Service Fee Total Mileage Charges Forwarding Fee Total Charges Advance Deposits | Amount owed to U.S. Marshal* or
(including endeavors) (Amount of Refund*)
REMARKS
Form USM-28

PRIOR VERSIONS OF THIS FORM ARE OBSOLETE

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